
Swing, J.
We see no reason to change the decision heretofore announced by us in this case as to striking the bill of exceptions from the files and therefoe affirming the judgment, as all the errors relied on arise out cf the bill of exceptions. The reocrd as corrected shows that the motion for a new trial was overruled July 22, instead of June 29. The bill of exceptions was signed and filed September 9, this was forty-nine days from the date of the overruling of the motion for a new trial.
The record recites, on the 9th of September: “Now comes
and presents this its bill of exceptions.” The law requires it to be presented to the judge at least five days before the expiration of the fifty days, and this our Supreme Court has held is jurisdictional,and that unless so presented,the judge loses jurisdiction tc sign the bill. This entry clearly shows that it was not presented until the forty-ninth day.
